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United States District Court
District of Massachusetts

CROSBY LEGACY COMPANY, LLC,
d/b/a PHILIP CROSBY ASSOCIATES,
Civil Action No.
18-cv-10814

Plaintiff,
Vv.

TECHNIPFMC PLC,

Defendant.

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MEMORANDUM & ORDER
GORTON, J.

Pending before the Court is the Report and Recommendation
of United States Magistrate Judge, Jennifer C. Boal (“the R&R”)
on the cross-motions for summary judgment of plaintiff Crosby
Legacy Company, Inc., d/b/a Philip Crosby Associates (“PCA”),
and defendant TechnipFMC plc (“TechnipFMC”).

After careful consideration of the R&R and the parties’
objections thereto, this Court will accept and adopt the
recommendations except insofar as they relate to Count II of the
complaint.

Count II of the complaint alleges that TechnipFMC breached
a Master Service and License Agreement entered into in 2014
(“the 2014 contract”). In its motion for summary judgment,
TechnipFMC argues, for the very first time in the course of this
litigation, that it was not a party to that contract. Rather,

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defendant contends that: 1) the 2014 contract was between PCA
and FMC Technologies, Inc. (“FMC”), which later merged with
another company to become TechnipFMC; 2) FMC did not “disappear”
after the merger but instead remains in existence as a wholly
owned subsidiary of TechnipFMC; and 3) FMC is thus the proper
party to sue regarding any alleged breaches of the 2014
contract.

With respect to Count II, the magistrate judge expressed
her recommendation in the alternative: that this Court 1) award
summary judgment in favor of defendant because plaintiff failed
to show that TechnipFMC (as opposed to FMC) is liable for the
obligations under the 2014 agreement; or 2) deny summary
judgment because genuine issues of material fact remain
regarding whether either party breached any contractual
provisions.

This Court declines to rule in favor of defendant on
grounds raised for the very first time in its memorandum in
support of its motion for summary judgment. A defendant’s
failure to plead an affirmative defense generally results in

Waiver. FDIC v. Ramirez-Rivera, 869 F.2d 624, 626 (lst Cir.

1989). To allow otherwise would frustrate the purpose of
asserting an affirmative defense, which is to
give the opposing party notice of the defense and a

chance to develop evidence and offer arguments to
controvert the defense.

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Wolf v. Reliance Standard Life Ins. Co., 71 F.3d 444, 449 (lst

Cir. 1995).
Several circuits permit a defendant to raise affirmative
defenses for the first time in a motion for summary judgment so

long as the delay does not prejudice the plaintiff. Lam v. City

of San Jose, 869 F.3d 1077, 1087 (9th Cir. 2017); see also

Rogers v. I.R.S., 822 F.3d 854, 856 (6th Cir. 2016); Aetna Cas.

& Sur. v. Aniero Concrete, 404 F.3d 566, 603 (2d Cir. 2005);

Barker v. Norman, 651 F.2d 1107, 1128 (5th Cir. 1981). Even if

the First Circuit Court of Appeals were, however, to adopt such
a rule, the circumstances at hand would not warrant the
assertion of the purported affirmative defense now.

This case was pending for six years before TechnipFMC
raised the issue of FMC’s longevity. During that entire hiatus,
TechnipFMC has defended against the substantive allegations in
Count II (as well as against all other counts) as if it were the
proper party-defendant to the suit.!

There is no question that plaintiff has been prejudiced by
defendant’s tardiness. The statute of limitations for a breach
of contract claim in Massachusetts is six years. M.G.L. ch. 260,

§ 2; see Saenger Org., Inc. v. Nationwide Ins. Licensing

1 For example, in its motion to dismiss, defendant argued for the dismissal of
Count II only on the grounds that the 2014 contract gave FMC a “perpetual
right” to license and use the disputed materials.

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Assocs., Inc., 119 F.3d 55, 64 (1st Cir. 1997). If this Court

were to dismiss Count II at this stage, plaintiff would be time-
barred from bringing suit against FMC individually for any
alleged violations of the 2014 contract.

The Court agrees with the alternative finding of the
magistrate judge that genuine issues of material fact remain
with respect to breaches of the 2014 contract and will therefore
deny summary judgment to both parties on Count II.

Finally, the magistrate judge noted that many of the
supporting documents for the summary judgment motions may have
been filed under seal inappropriately. In their joint statement
in response (Docket No. 220), the parties have come to a partial
agreement as to which exhibits should be unsealed and which
should remain under seal. The Court will accept and adopt the
parties’ recommendations. With respect to the exhibits as to
which the parties do no agree, they will remain under seal
without prejudice to defendant’s position that the information

therein is not confidential. See In re Gitto Corp., 422 F.3d 1,

6 (lst Cir. 2005) (citing examples where the presumption of
public access to court records was limited “to prevent judicial
records from being . . . sources of business information that

might harm a litigant’s competitive standing”).
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ORDER
For the foregoing reasons,

- after consideration of the objections thereto
(Docket Nos. 221 and 222), the Report and
Recommendation of Magistrate Judge, Jennifer C. Boal
(Docket No. 219) is accepted and adopted with the
exception that, with respect to Count II, this Court
accepts and adopts the magistrate judge’s
alternative recommendation that the motions of both
parties for summary judgment (Docket Nos. 199, 207)
are DENIED;

- summary judgment exhibits 2, 6, 8-10, 13, 19, 21,
32, 35, 37, 38, 42, 43; 46, 47, 52, 54=56, 58-63,
65, 66, 71, 75, 77, 83-85, 87-92, 94, 96-98, 131,
133-42, 144-52, 154-60, 162-66, 169, 172, 178, 181,
190, 197, 198, 205, 206, 206-168; 220, 222-26, 230-
36, 238, 242, 245, 255 and 256 shall be unsealed;

- the parties shall submit redacted versions of
summary judgment exhibits 104 and 201 for public
filing on or before Friday, March 28, 2025.

So ordered.

7) pid WG HOR

Nathaniel . Gorton
United States District Judge

Dated: March S , 2025
